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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

A.J. and R.J., Minor Children, by             )
RAHUL JULKA, their Father and                 )
Next Friend, RAHUL JULKA, and                 )
KOMAL JULKA                                   )
                                              )
                Plaintiff,                    )       Case No. 17-cv-02849
                                              )
        v.                                    )       Hon. Judge Matthew Kennelly
                                              )
Butler Illinois School District 53, et al.,   )       Magistrate Judge Susan Cox
                                              )
                Defendants.                   )

    PLAINITFFS’ MEMORANDUM IN OPPOSITION TO SUMMARY JUDGMENT

        NOW COME the Plaintiffs, A.J. and R.J., by their Father and Next Friend, Rahul Julka,

RAHUL JULKA (“Julka”), and KOMAL JULKA (“K. Julka”; collectively referred to herein as

“Plaintiffs”), and as their Memorandum in Opposition to Summary Judgment, they state as

follows:

                                        APPLICABLE LAW

        “Summary judgment is appropriate when the record shows ‘that there is no genuine issue

as to any material fact and that the moving party is entitled to judgment as a matter of

law.’” Fed.R.Civ.P. 56(c); see also Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986); Sinkler v.

Midwest Prop. Mgmt., Ltd., 209 F.3d 678, 683 (7th Cir.2000). “In determining whether summary

judgment is appropriate, the Court must view the evidence, and draw all reasonable inferences

therefrom, in the light most favorable to the nonmoving party.” See Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 255 (1986); Kennedy v. United States, 965 F.2d 413, 417 (7th Cir.1992).

“Summary judgment is appropriate when the nonmoving party ‘fails to make a showing sufficient

to establish the existence of an element essential to that party's case, and on which that party will
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bear the burden of proof at trial.’” See Celotex, 477 U.S. at 322. “If taking the record in its entirety

cannot lead a rational trier of fact to find for the nonmoving party, then there is no genuine issue

for trial and summary judgment must be granted.” Matsushita Elec. Indus. Co. v. Zenith Radio

Corp., 475 U.S. 574, 587 (1986).

                                            ARGUMENT

    1. The School District Defendants violated R.J.’s constitutional rights when they
       retaliated against him following the filing of the grievance.

            a. R.J. engaged in speech through his attorney and his parents at all times
               relevant hereto.

        The School District Defendants attempt to improperly obtain a quick dismissal of Count

III of Plaintiffs’ First Amended Complaint (“Complaint”) by inexplicably claiming that R.J. did

not engage in speech with respect to the matters alleged in the Complaint. To begin with, the

grievance at issue was filed by and on behalf of all of the Plaintiffs. Indeed, the grievance itself

challenged sanctions that were issued against both R.J. and A.J. as the minor children in addition

to Julka and K. Julka. The very point of the grievance was to challenge the fact that the minor

children had been barred from engaging in any academic competitions for the remainder of their

tenure within the District. In fact, the School District itself in its April 15, 2016 letter referred to

the grievance as “the Julka Family’s grievance appeal.” See EXHIBIT 25 at pg. 11. This point

was already raised and rejected by the Dupage County Circuit Court in the Plaintiffs’

Administrative Review case. In that case, the Court, through the Honorable Judge Paul M.

Fullerton, held that:

       “Moreover, the Board’s argument that the Plaintiffs lack standing because the grievance
complaint was filed by Subject Parents, rather than Plaintiffs, is rejected. Plaintiffs were only nine
(9) and eleven (11) when the grievance complaint was filed. As minors, complaints and other
documents are often filed by a parent or guardian. Additionally, the Complaint Manager’s
findings, affirmed by the Board in the April 15, 2016 letter, state that “the Julka family filed a
grievance appeal” and refers to the grievance complaint as “the Julka family’s grievance appeal.”
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       See EXHIBIT 25.

       Interestingly, the School District Defendants seem to imply that minor children R.J. and

A.J. should have filed the grievance on their own in order for it to be considered their free speech.

Certainly, as the Honorable Judge Paul M. Fullerton stated in his opinion as cited above, it is

common and customary for parents or guardians to file matters on behalf of their minor children.

To expect a nine (9) year old child and an eleven (11) year old child to somehow navigate the

requirements and submit the content necessary for the filing of a grievance is wholly unjust and

without merit.

       Furthermore, R.J. repeatedly engaged in free speech with respect to the grievance and 2016

Geo Bee through his attorney, Christopher Stull, who represented only both minor children. See

EXHIBIT 1(a); See EXHIBIT 1(b), 526: 6-17. After Plaintiffs Julka and K. Julka inquired about

the process for filing a grievance, Defendant Hanzlik sent an active and current Uniform Grievance

Policy 1400 (“UGP”), along with an unapproved, proposed version of the policy. See EXHIBIT

4. During this process, Defendant Hanzlik additionally represented to Plaintiffs Julka and K. Julka

that a “third party not connected to the District or Board of Education” would be used to conduct

the investigation. See EXHIBIT 4. The active version of the UGP was not utilized; hence,

Defendant Hanzlik himself became the de facto Complaint Manager. During the grievance

process, Plaintiffs Julka and K Julka, on behalf of their children and themselves, participated in a

mediation at the suggestion of Attorney Libby Massey. See EXHIBIT 2. After the mediation

failed, Attorney Christopher Stull was hired to represent both minor children for the grievance

process and investigation. See EXHIBIT 3. Similar to how Attorney Stull represented the minor

children, so, too, did Plaintiffs Julka and K. Julka. Since the grievance at issue represented claims

of Plaintiff R.J., there can be no doubt that the speech at issue was that of R.J.’s.
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        The School District Defendants incorrectly rely on Hodges/Friend case to support their

position that Plaintiff minor child R.J. did not engage in protected speech; however, such reliance

is misplaced. The speech at issue in Hodges/Friend involved a parent who lodged complaints

against the district.    Conversely, the speech at issue in our case involves speech directly

challenging sanctions issued against BOTH the minor children plaintiffs and Plaintiff. Julka and

K. Julka. This Court must not be distracted by the School District Defendants’ misplaced citations

to alleged relevant authority.

        Since there is no question as to whether Plaintiff R.J. engaged in protectable speech, the

Defendants’ Motion for Summary Judgment must be denied.

            b. Defendants’ Motion for Summary Judgment must be denied because there
               remains a genuine issue of material fact as to whether the School District
               Defendants engaged in retaliatory acts.

        Next, Defendants’ Motion for Summary Judgment must be denied because there remains

an important and key issue of material fact, specifically whether the School District Defendants

engaged in retaliatory acts. “A plaintiff alleging retaliation under 42 U.S.C. § 1983 and the First

Amendment must show that her speech was (1) constitutionally protected and (2) a substantial or

motivating factor in the retaliatory action.” Spiegla v. Hull, 371 F.3d 928, 935 (7th Cir.2004).

This Court, in denying Defendants’ Motion to Dismiss Count III of the Complaint, has already

ruled on the issue as to whether the grievance filing was an exercise of free speech as protected

under the Constitution. Furthermore, contradictory to Defendants’ allegations that no retaliation

occurred, there exists significant evidence to conclude that the School District Defendants engaged

in retaliatory acts by, at the very least, inserting negative, altered, fabricated, and significantly late

documents to Plaintiff R.J.’s student file. In fact, an e-mail from April 2016 from Defendant

Superintendent Wennstrom to Jennifer Traub instructs Ms. Traub to specifically record any
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incidents pertaining to Plaintiff R.J. See EXHIBIT 31. All of these acts occurred after the

Plaintiffs filed their grievance.

        Attorney Christopher Stull requested a copy of the student files of R.J. and A.J. on three

separate occasions in 2016: first, on April 5, 2016, the School District Defendants sent Plaintiff

R.J.’s student file to Attorney Stull labeled as 1-42; next, on May 10, 2016, the School District

Defendants sent Plaintiff R.J.’s student file labeled as 1-163; finally, on June 29, 2016, the School

District Defendants sent Plaintiff R.J.’s student file labeled as 1-123. See EXHIBITS 10, 11, and

12. Importantly, there was no deviation in information requested through the three (3) requests

pertaining to academic records and the student file. A review of the documents submitted over

those three (3) requests shows a large increase in negative documents in Plaintiff R.J.’s file which

were not present in the School District Defendants’ initial production on April 5, 2016.

        The newly-inserted documents are for alleged occurrences prior to April 5, 2016 and

certainly would have and should have already been contained in the student file, if inclusion of the

documents was appropriate in the first place. Additionally, in the May 10, 2016 student file, there

existed a different version of the February 8, 2016 letter as compared to the February 8, 2016 letter

contained in the April 5, 2016 disclosure. Furthermore, the June 29, 2016 tender by the School

District Defendants contained yet another different version of the February 8, 2016 letter compared

to the disclosure of April 5, 2016 in addition to a different version of the April 15, 2016 letter

compared to the May 10, 2016 disclosure.

        Furthermore, one of the documents added to Plaintiff R.J.’s student file that was received

in response to the Plaintiffs’ FERPA request on May 10, 2016, a document not contained in his

student file as recently as April 5, 2016, was a fabricated disciplinary form involving Plaintiff R.J.

and his science class which allegedly occurred on June 3, 2015 when Plaintiff R.J. was in fourth
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grade. See EXHIBIT 13. Plaintiff R.J. never received any disciplinary action from the school,

and neither Julka nor K. Julka were ever notified of any disciplinary actions handed out to Plaintiff

R.J. or planned to be handed out to Plaintiff R.J. Principal Voliva and Homeroom Teacher Adam

Nicholson, under sworn deposition testimony, stated that Plaintiff R.J.’s parents met with them

and Plaintiff R.J. to discuss the matter at school. See EXHIBIT 14a, 38: 1-24, 39: 1-18; See

EXHIBIT 14b, 36: 11-17. This testimony was categorically false as there is no evidence that a

meeting was set up with Plaintiff R.J.’s parents, mainly because this meeting never occurred. In

fact, such a meeting was impossible considering Plaintiff R. Julka was at work in Merrillville,

Indiana on the date of the alleged meeting as testified to by Adam Nicholson and Principal Voliva,

and he could not have possibly been at any meeting, despite the fabricated disciplinary form stating

he was present. See EXHIBIT 15. The Affidavit of Jennifer Lynn Ashcroft, main medical

assistant to Plaintiff Julka, corroborates the fact that Plaintiff Julka was at work on the day of the

alleged in-person meeting taking place between Plaintiff Julka, K. Julka, Adam Nicholson and

Principal Voliva. See EXHIBIT 15b.

       Additionally, there is no signature by the student, R.J., on the alleged disciplinary form

which indicates that the document was fabricated at a later date. In stark contrast, a disciplinary

form in Plaintiff A.J.’s student file from an incident where A.J. was being bullied at school by

another student was contained in all three (3) versions of Plaintiff A.J.’s student file in response to

Plaintiffs’ FERPA requests, was signed by A.J., and there was no evidence or allegation that a

meeting with A.J. and his parents occurred. In addition to this, contrary to Principal Voliva’s

sworn deposition testimony that students do not always sign the disciplinary form, Principal Voliva

went out of her way to ensure that A.J. signed his disciplinary form. See EXHIBIT 16; See
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EXHIBIT 14a, 41: 17-24, 42: 1-17, 45: 13-24, 46: 1-14, 81: 13-24, 82: 1-22. This same effort

was not made for Plaintiff R.J.’s purported disciplinary form.

        The Defendants’ own statements contained in their Memorandum of Support doom their

Motion for Summary Judgment. First, the Defendants specifically state that “the documents

always existed but were not produced the first time Plaintiffs made a request for R.J.’s records

pursuant to FERPA.” See Defendants’ Memorandum in Support at pg. 6. The Defendants

continue to dig themselves into a hole by next stating that “[u]pon receipt of a second FERPA

request, the school undertook a more extensive search for R.J.’s records.” Id. at pg. 7. The

Defendants fail to explain why there would be a need for variations in production when each of

the FERPA requests at issue sought the same student files. Seeing how this issue forms an

important crux of this case, a trier of fact must determine whether the Defendants engaged in

retaliatory acts.

        The Defendants’ reliance on Springer is likewise misplaced. The facts contained in

Springer are not the least bit similar to the facts in our case. Springer involved parents of a student

athlete who claimed that the school retaliated against them by failing to respond to requests for

meetings and otherwise avoiding communication with the parents following the parents’

complaints regarding actions of the child’s softball coach. Unlike Springer, our case involves

retaliation being conducted against minor children, specifically retaliation which would jeopardize

the minor children’s futures. There is no shortage of evidence to show the retaliatory acts of the

Defendants in this case, and the question of whether the Defendants retaliated is without doubt,

even considering simply the timing and nature of the retaliation. The Defendants admit that certain

documents were not produced earlier in the relevant time period but were subsequently produced.
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       The Defendants additionally claim that there are remedies in place which allow a family to

challenge the accuracy of a student’s record or the conduct of an administration. This position is

without merit as it pertains to the facts of this case. The grievance as evidently conducted through

Attorney Massey was biased, one-sided, not based on fact, and approached with a pre-determined

outcome without any supporting facts or evidence, and the entire process engaged in by the

Defendants did not follow the school’s policy in place. In addition to that, the administration

changes school policies at their own whim to help support the pre-determined outcome it desires.

They have even gone as far as changing the process for implementing and creating new policies

to suit their needs. There is no remedy for a family or child to challenge inaccurate or fabricated

letters placed in their student files because ISSRA does not offer the ability to check for accuracy

of contents which are placed in the students’ files. Plaintiffs has attempted to exhaust the remedies

available to them. See EXHIBITS 24a-24e.

       Accordingly, Defendants’ Motion for Summary Judgment must be denied because R.J.

engaged in Constitutionally protected speech and was retaliated against as a result.

   2. Defendants’ Motion for Summary Judgment must be denied because there exists a
      genuine issue of material fact as to whether the Defendants engaged in intentional
      extreme and outrageous acts.

       The School District Defendants simply argue that the conduct engaged in by them does not

rise to the level of extreme and outrageous conduct. This is more so a question for the trier of

facts. Setting aside that issue for the time being, under Illinois law, “’[s]evere emotional distress’”

is distress so severe that no reasonable person could be expected to endure it.” Lifton v. Bd. of

Educ. of City of Chicago, 416 F.3d 571, 579 (7th Cir. 2005). In the case at bar, Plaintiffs can

demonstrate the existence of outrageous conduct. Plaintiffs can demonstrate with certainty that as

a result of the School District Defendants’ conduct, Plaintiff Julka was forced to leave his lucrative
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employment and suffered injuries to his good name and reputation.              Plaintiffs can further

demonstrate that the two minor children have suffered a negative impact on their reputation, are

called and believed to be cheaters, are continuously harassed at school by other students, are

believed to have engaged in academic misconduct despite any evidence supporting the same, and

were prohibited from advancing their educational opportunities at school. Most recently, the minor

children were told by another student who used to be their friend that the student could no longer

be friends with him due to allegations of him being a cheater. Certainly, for a minor child, these

are all acts which a trier of fact could deem to be extreme and outrageous. Plaintiff R.J. repeatedly

showed signs of the impact this incident has had on him. See EXHIBIT 32. In fact, the evidence

demonstrates that the Defendants knew that this story would spread amongst the parent

community. See EXHIBIT 27. The Defendants additionally knew that their actions would lead

to court proceedings and discussed demanding that Plaintiffs either pay them or be sued. See

EXHIBIT 30. No reasonable person in the Plaintiffs’ shoes could be expected to endure the

distress Plaintiffs have and continue to experience.

       At all times relevant hereto, Defendants knew the importance of academic success to A.J.

and R.J. in addition to their parents’ interest in the same. In fact, the School is largely competitive

and consists of students who excel academically. As a result, the Defendants had knowledge that

engaging in the acts described above would lead to severe emotional distress being suffered by the

Plaintiffs, and they intended to invoke this distress based on what the School perceived to be issues

with a school family.

       The Defendants attempt to curtail the issues contained in this case by claiming ignorance

with respect to how families in and outside of the School had knowledge as to the occurrences at

issue herein. To the contrary, the Defendants place blame on the Plaintiffs for the community
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having knowledge, though they fail to explain how or why Plaintiffs would want the community

finding out about the issues with the Defendants.

        First, neither Plaintiff Julka nor Plaintiff K. Julka made direct statements to the media or

press, unlike the multiple statements to the school community and public community made by

Defendant Superintendent Wennstrom and Defendant Board President Alan Hanzlik. Plaintiff K.

Julka’s posting on the Daily Herald website was only in the response section for comments posted

by readers, not in the body of the article itself. Her posting came after the state court ISSRA filing

in which non-sealed, non-redacted material was submitted by the School District which identified

R.J.’s and A.J.’s full names, social security numbers, bank account information, and health records.

These filings can still be found today in the ISSRA state case court file. The ISSRA case still has

the February 8, 2016 and April 15, 2016 letters, which are not redacted, and identify both minors

and parents. The media has been able to gain information from the unredacted records, and they

approached Defendant Superintendent Wennstrom and Defendant Board President Hanzlik, both

of whom not only commented, but presented false statements. Neither Defendant Superintendent

Wennstrom nor Defendant Board President Hanzlik made an attempt to rectify the false comments

they made and have shown no remorse for the drastic impact their comments and actions have had

on the minor children. The Defendants’ broadcasting of the information through the media, board

meetings, Village of Oak Brook civic letters, responses to community member emails, and

submission of non-redacted information publicly available through the docket, served to identify

Plaintiffs.

        Defendant Superintendent Wennstrom and Defendant Board President Hanzlik specifically

made false statements in the media indicating that R.J. and A.J. had used the test material to prepare

for the upcoming Geo Bee exam, despite having firsthand knowledge prior to this that neither R.J.
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nor A.J. had seen the test material, read the test material, heard the test material, or used the test

material, as confirmed and admitted by the School and signed off on by both Defendants

Wennstrom and Hanzlik. See EXHIBIT 17. Defendant Board President Hanzlik also made a false

statement to the Daily Herald that K. Julka “jailbroke” the Geo Bee website to obtain the test

material. This is a nonsensical statement as the term “jailbreak” does not apply to websites and

the National Geo Bee confirmed that the material in question was not obtained through hacking of

their website.

        Even the investigation processed utilized by Defendants was improperly conducted and

subjected Plaintiffs to sever emotion distress. Defendant Superintendent Wennstrom’s supposed

investigation into the Geo Bee incident, which led to the February 8, 2016 sanctions placed against

Plaintiffs was filled with inconsistencies. It is this alleged investigation that created the issues

being addressed by this Court today. None of the Plaintiffs were even notified or informed that

they were being investigated. None of the Plaintiffs were aware an investigation had taken place

until they received the letter of investigation findings and sanctions of February 8, 2016. Neither

Plaintiff Julka nor Plaintiff A.J. ever spoke to or had any contact with school officials regarding

the Geo Bee incident.        The timeline created by the Defendants was modified/revised by

Superintendent Wennstrom and Principal Voliva on multiple occasions, including February 12,

2016 and February 18, 2016, both of which came AFTER the investigation was completed and

sanctions had been implemented against the Plaintiffs on February 8, 2016. See EXHIBIT 20.

        All of the conduct exhibited by Defendants herein was extreme and outrageous, caused the

Plaintiffs to suffer severe emotional distress, and the Motion for Summary Judgment must be denied. The

Defendants knew the minor children were particularly susceptible to emotional distress by virtue of the fact

they were nine and eleven years old, respectively, Defendants knew or should have known that Plaintiffs

K. Julka and Julka would be susceptible to emotional distress by virtue of unjust punishment of their nine
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and eleven year old children, Defendants held a position of absolute power over the minor children’s fate,

and Defendants’ actions were extreme and outrageous. When analyzing the outrageousness of the behavior

of a defendant, the court may take into account the defendant’s abuse of a position which provides her with

actual or apparent authority over the plaintiff or power to affect the plaintiff’s interest, and the defendant’s

awareness of a plaintiff’s particular susceptibility to emotional distress. Kolegas v. Heftel Broadcasting

Corp. 154 Ill.2d 1, 21 (1992). “Behavior that might otherwise be considered merely rude, abrasive or

inconsiderate, may be deemed outrageous if the defendant knows that the plaintiff is particularly susceptible

to emotional distress.” Id.

        First, Defendants maintained significant control over the Plaintiffs and wielded ultimate control

over the decision to impose sanctions, punishments, and permanent marks in the academic folders of the

nine and eleven-year-old Plaintiffs. School authorities and the authoritative position they hold over

Plaintiffs is explicitly identified by Illinois courts as giving rise to an inference of extreme and outrageous

behavior:


        The more control which a defendant has over the plaintiff, the more likely that defendant's
        conduct will be deemed outrageous, particularly when the alleged conduct involves either a veiled
        or explicit threat to exercise such authority or power to plaintiff's detriment. Threats, for example,
        are much more likely to be a part of outrageous conduct when made by someone with the ability
        to carry them out then when made by someone in a comparatively weak position. The
        Restatement mentions police officers, school authorities, landlords and collecting creditors as
        examples of the many types of individuals who may be positioned to exercise power or
        authority over a plaintiff.


McGrath v. Fahey, 126 Ill. 2d 78, 86–87, 533 N.E.2d 806, 809–10 (1988) (emphasis added) (citing

Restatement (Second) of Torts § 46, comment e, at 74 (1965). Additionally, “[t]he extreme and

outrageous nature of the conduct may arise not so much from what is done as from abuse by the

defendant of some relation or position which gives him actual or apparent power to damage the plaintiff’s

interests.” Milton v. Illinois Bell Tel. Co., 101 Ill.App.3d 75, 79 (1st Dist. 1981) (citing Prosser on Torts,

4th Ed., p. 56; accord, Restatement (Second) of Torts, s 46). Here, the conduct of the Defendants went

beyond mere threats and manifested into serious sanctions imposed upon the minor children. It was only
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after the filing of this litigation in addition to the filing of an administrative complaint that the School

relented and lifted the sanctions.

        Moreover, the analysis of extreme and outrageous behavior is of a highly subjective nature and is

a decision best left for a trier of fact to decide at trial. For example, where a plaintiff was harassed at

work and was pressured to falsify work reports by his foreman, the First District ruled that the defendant’s

behavior was sufficient to satisfy the extreme and outrageous requirement under a claim for IIED. Milton

v. Illinois Bell Tel. Co., 101 Ill.App.3d 75, 80 (1st Dist. 1981) (the court concluded “that a judge or jury

could reasonably find that the coercion and retaliation allegedly suffered by plaintiff was so outrageous,

extreme, and atrocious as to be considered intolerable in a civilized community. Therefore plaintiff’s

complaint meets the requirement of pleading facts which could reasonably be found to amount to extreme

outrageousness.” Id. at 81). Additionally, the Seventh Circuit upheld a jury verdict on an IIED claim in

plaintiff’s favor where the only evidence of the plaintiff’s distress was that she was terrified in the few

moments while the defendant screamed at her. Fox v. Hayes, 600 F.3d 819, 842-43 (7th Cir.2010). The

plaintiff’s husband was being questioned in the death and disappearance of the couple’s child and the

supervising police officer became irate at the plaintiff’s continued support of her husband and screamed

profanities at her. Id. In upholding the trial court’s award, the Seventh Circuit specifically mentioned “an

obviously vulnerable mother and wife” to boost an instance that might otherwise be merely an ugly insult

into a valid IIED claim. Id. at 843. Similarly, here, the Plaintiffs include a nine and eleven year old child,

along with the children’s parents. The children, by virtue of their age and development, are obviously

vulnerable to emotional distress as any child would be when they are subject to the investigation,

accusations, and harassment that the Plaintiffs underwent herein. Additionally, the children’s parents are

obviously vulnerable to their small children being harassed, punished, and sanctioned for wrongs they did

not commit.

        The Plaintiffs’ suffered severe emotional distress as a result of Defendants’ conduct, as evidenced

in the Plaintiffs’ mental distress and physical illness that arose as a result of Defendants’ actions.

“Neither physical injury nor mental health treatment is absolutely necessary under Illinois law to recover
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for IIED.” Bell v. Village of Streamwood 2011 WL 4435664, *4 (Sept. 6, 2011). The requirement that

severe distress must be present is to prevent fictitious claims, and Illinois courts take into account the

outrageousness of a defendant’s actions when evaluating the sufficiency of a plaintiff’s evidence of severe

emotional distress. Id. “In other words, a plaintiff may compensate for weak evidence of severe distress

by presenting stronger evidence of the outrageousness of defendant’s behavior.” Id. Additionally, severe,

long-term effects from the distress are not a prerequisite for recovery under a theory of IIED where the

distress caused is sufficiently severe. Id. In Fox, the prevailing plaintiff presented no evidence which

linked lingering emotional problems to an incident where a police officer screamed obscenities at her, and

while he Seventh Circuit reduced the jury’s $1 million award as excessive, the court upheld the award of

IIED. Fox 600 F.3d at 845-46.

        Here, the Defendants worked to impose the unjust sanctions upon the Plaintiffs, and the distress

described by the Plaintiffs is entirely sufficient. For starters, two licensed physicians offered testimony

concerning the physical ailments that affected the minor children following the actions Badlani and the

School. If the Defendants’ position is that the minor children’s father, a licensed gastroenterologist and

herpetologist as well as internal medicine physician, and the children’s grandfather, a licensed

nephrologist and internal medicine physician, are willing to lie under oath concerning the physical

ailments that occurred in the minor children as a result of the actions of the Defendants, then the Court is

presented with a credibility issue that a trier of fact must determine. The credibility and authenticity of

the minor children’s medical diagnosis is a material fact that cannot be disposed of at this stage in the

proceedings.

        Accordingly, the Defendants’ Motion for Summary Judgment must be denied and this case must

proceed to a trial.

    3. Defendants’ Motion for Summary Judgment must be denied because there exists a
       genuine issue of material fact as to whether the improperly-added negative
       documents have been completely removed and whether they were properly included
       in the student files in the first place.
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       The Defendants finally claim that the issue of injunctive relief should be considered moot

because the negative documents at issue have allegedly been removed and were not properly

placed in the files to begin with. This point has been addressed above with respect to retaliation.

To review, aside from self-serving testimony that the documents were properly placed, the

totality of the evidence demonstrates that negative documents were being added to the children’s

files following the filing of the grievance. For instance, the three various FERPA requests issued

to the Defendants came back with additional and different documents for each response. See

EXHIBITS 10, 11, and 12. How the Defendants can now claim that the documents at issue

were included as a part of a separate, behavioral file is troubling, especially where the FERPA

requests show virtually identical requests for records. Id. Since the Defendants cannot

definitively demonstrate that the documents were properly present in the first place, the Motion

for Summary Judgment must be denied.

       Finally, the Defendants claim that injunctive relief would be burdensome to them and that

the Count should be dismissed as a result. Similarly, that argument, too, is without merit. The

Defendants fail to explain how removing documents from a student file would lead to great

hardship to them. To the contrary, removal of these documents would be the path of least

resistance and easily performed by any School employee. This Court must not be distracted by

the simpleton arguments set forth by the Defendants in a half-hearted attempt to prevail on this

Count for injunctive relief.

       Accordingly, the Defendants’ Motion for Summary Judgment must be denied.

                                              Respectfully submitted,

                                              R.J., A.J., Komal Julka and Rahul Julka

                                              /s/ Anish Parikh_______________________
                                              One of the Attorneys for Plaintiffs
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                                CERTIFICATE OF SERVICE


       The undersigned, one of the attorneys of record herein, hereby certifies that on May 23,

2019, the foregoing RESPONSE MEMORANDUM IN OPPOSITION TO SUMMARY

JUDGMENT was electronically filed with the Clerk of the U.S. District Court using the CM/ECF

System, which will send notification of such filing to the following:

                                                     /s/ Anish Parikh



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